                                                                                    04/16/2019
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                      )
       Plaintiffs,                             )         Civil Action No. 3:17-cv-00072
                                               )
  v.                                           )         ORDER
                                               )
  JASON KESSLER et al.,                        )         By:    Joel C. Hoppe
       Defendants.                             )                United States Magistrate Judge



         This matter is before the Court on the Plaintiffs’ Motion for Sanctions against Defendant

  Vanguard America. ECF No. 465. Having reviewed the motion, the Court finds it necessary to

  review the contents of Exhibits 12, 26, and 33, which were not filed on the public docket. See id.

  at 4 n.2 (citing ECF No. 167). On or before April 19, 2019, Plaintiffs shall file complete and

  unredacted copies of these exhibits, as well as unredacted copies of the discovery responses or

  materials at issue in each exhibit. See id. at 4, 7, 9–10, 12 n.4, 13 n.5, 19–20. All documents may

  be filed under seal in accordance with Local Rule 9.

         It is so ORDERED.

                                                         ENTER: April 16, 2019



                                                         Joel C. Hoppe
                                                         U.S. Magistrate Judge




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